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MEMORANDUM
________________________________________________________________________

To:   McClendon Counsel, MDC and Centurion Administrations
From: Counsel for Plaintiff-Intervenors
RE: MDC Visit June 27, 2019
Date: July 22, 2019
______________________________________________________________________




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                                                     EXHIBIT 4
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                                                                           was housed on F-4 when
counsel met with him. He reported that in the weeks prior to counsel’s visit, his seizure
medication had been disrupted, as set forth below under Medical Care, and as a result he
experienced at least one grand mal seizure while the pod was locked down and no CO was
present. He said that this occurred on a weekend. He reported that his cell mate was unable to
call for assistance because the call buttons only rang to the desk and no CO was present. He said
he tried to stay awake after the seizure, but fell asleep prior to the CO returning to the pod.
Counsel understand that COs are now supposed to lock the control panel prior to leaving a pod
so that the cell call buttons ring to master control. Please provide any directives issued to officers
regarding this practice. Please provide any documentation of efforts to monitor whether this is
happening.




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